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                     EXHIBIT 6
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                          In The Matter Of:
                              LONG vs.
                             FERNANDEZ




                          MELANIE SILVA
                         November 14, 2023




                      Challe, Fisher & Morfin
                         1828 South Street
                     Redding, California 96001
                           (530)246-0942
                         cfmdepos@att.net




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 1                    UNITED STATES DISTRICT COURT
 2                   EASTERN DISTRICT OF CALIFORNIA
 3                         SACRAMENTO DIVISION
 4   E.L., a minor, by and through               )
     her general guardian, JESSICA               )
 5   LONG; JESSICA LONG, an                      )
     individual,                                 )
 6                                               )
                           Plaintiffs,           )
 7                                               )
         vs.                                     )   NO. 2:22-cv 01527
 8                                               )   DAD-AC
     LIEUTENANT JERRY FERNANDEZ,                 )
 9   individually and in his                     )
     individual capacity as Sheriff              )
10   for the County of Shasta;                   )
     DETECTIVE JACOB DUNCAN,                     )
11   individually and in his                     )
     individual capacity as Sheriff              )
12   for the County of Shasta;                   )
     DETECTIVE JEREMY ASHBEE,                    )
13   individually and in his                     )
     individual capacity as Sheriff              )
14   for the County of Shasta; SHASTA            )
     DISTRICT FAIR AND EVENT CENTER,             )
15   a district agricultural                     )
     association; COUNTY OF SHASTA;              )
16   SHASTA COUNTY SHERIFF'S                     )
     DEPARTMENT; MELANIE SILVA, in               )
17   her individual capacity; BJ                 )
     MACFARLANE, in his individual               )
18   capacity; and DOES 1 through 10,            )
                                                 )
19                    Defendants.                )
     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
20                         ---oOo---
21                     TUESDAY, NOVEMBER 14, 2023
22                                9:41 a.m.
23              VIDEOTAPED DEPOSITION OF MELANIE SILVA
24                                 ---oOo---
25           Reported by:      CAROL J. CHASE, CSR No. 13538

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            1     delivered to B.J. Mcfarlane, correct?
            2        A       I heard that he was in Napa and that he was
            3     brought back.
            4        Q       Okay.    Who did you hear that from?
10:29:52    5        A       I knew you were going to ask that.             I --
            6     who told me?      I don't remember who told me.           There
            7     was a lot of people that told me random information.
            8        Q       Okay.
            9        A       I don't remember.
10:30:20 10          Q       Do you remember if you found out he was at
           11     B.J.'s from text, phone, or e-mail?
           12        A       I never knew he was at B.J.'s.
           13        Q       You -- didn't you just say a moment ago --
           14        A       That he was back in -- they had possession
10:30:32 15       of Cedar again, yes.
           16        Q       Yes.
           17        A       Where exactly they took him, I do not know.
           18        Q       Okay.    But you knew he was with B.J. in
           19     some capacity, yes?
10:30:40 20          A       I knew that B.J. was aware that it was
           21     back, yes.
           22        Q       Did you know that B.J. had custody of him?
           23        A       I just knew it was back.           I didn't know
           24     exactly it went when it came back.
10:30:52 25          Q       Did you -- did you ask B.J.?

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            1        A         No.
            2        Q         Is there any reason you didn't ask B.J.?
            3        A         We were not in contact.
            4        Q         You were the not in contact.              Okay.   Were
10:31:01    5     you in contact with anyone else regarding Cedar?
            6        A         In, like, regular contact checking up on
            7     it?    No.
            8        Q         Irregular contact, anyone at any point in
            9     the time from --
10:31:09 10          A         Kathie Muse and I spoke once.
           11        Q         When did you speak to her?
           12        A         I -- I don't know.        She also has an event
           13     with a different group that has nothing to do with
           14     any of this at the fairgrounds, so I just see her
10:31:23 15       randomly.
           16        Q         Okay.   So you knew that -- that Kathie and
           17     B.J. had custody of Cedar?
           18        A         Correct.
           19        Q         Okay.   Okay.     And when -- do you know when
10:31:32 20       you abouts [sic] learned about that?
           21        A         No.
           22        Q         No?   Was it -- so he was retrieved the 8th
           23     and --
           24        A         Of August?
10:31:40 25          Q         No.   July.

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            1        A       Oh.
            2        Q       And this was -- and this was -- with that
            3     date in mind, did you learn immediately after?
            4     Right after?
10:31:47    5        A       I don't know.       I don't know.
            6        Q       A few weeks later?
            7                MR. BRIDGES:      I'm confused.       I thought you
            8     said you didn't know that B.J. had custody.
            9                THE WITNESS:      I don't know that he had --
10:31:55 10       he had custody.
           11                MR. GORDON:      No, she said she didn't know
           12     where he had custody.        She knew --
           13                THE WITNESS:      I didn't know he had it.          I
           14     don't -- I know it came back.           I don't know where it
10:32:01 15       went after that.
           16     BY MR. GORDON:
           17        Q       Okay.    Okay.    So you did want know -- B.J.
           18     is a livestock manager, correct?
           19        A       He was, yes.
10:32:08 20          Q       At that time?
           21        A       At that time.
           22        Q       So he's your employee?
           23        A       He was, yes.
           24        Q       Okay.    So you didn't know where the
10:32:16 25       livestock manager was with the livestock; is that

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            1     your testimony?
            2        A       At that time.
            3        Q       Okay.    At that time.       And when did you
            4     learn to the best of your memory?
10:32:26    5        A       Sometime after it was back.
            6        Q       That could be till now.          In -- in July?
            7        A       I don't know.
            8        Q       Before the board meeting on the 19th; do
            9     you think you knew by then?
10:32:38 10          A       I don't know.
           11        Q       Well, please give me your best estimate.
           12        A       I -- honestly, I have no clue, July,
           13     August.    I'm not sure.
           14        Q       July, August.       Okay.    Where is Cedar right
10:32:48 15       now then?
           16        A       I don't know.
           17        Q       You don't know where he is.           Okay.    Okay.
           18     Well, you know he was slaughtered, yes?
           19        A       I heard that he was slaughtered.
10:32:58 20          Q       When did you hear that?
           21        A       I don't know -- people just talk.             I don't
           22     know.    I'm not trying to be difficult.             I don't
           23     know.
           24        Q       When did you first hear he was slaughtered?
10:33:13 25          A       This is hearsay.        Do I say it as fact when

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            1     I don't know for sure?
            2        Q       It's not being introduced as evidence.
            3     Yes, you need to tell me what -- what you heard.
            4        A       I just -- I don't know when I heard it.              I
10:33:26    5     just heard that he was back and that the permission
            6     was given to go ahead and move forward with the
            7     slaughter.
            8        Q       Permission from who?
            9        A       Somebody told me DA.         But do I know if
10:33:40 10       that's fact?      I don't know if that's fact.
           11        Q       Yeah.
           12                MR. GORDON:      So off the record for just one
           13     second.
           14                THE VIDEOGRAPHER:        We're off the record and
10:33:47 15       the time is 10:33.
           16                (Whereupon, recess was take
           17                from 10:33 a.m. to 10:47 a.m.
           18                (Record read.)
           19                THE VIDEOGRAPHER:        We're back on the record
10:47:16 20       and the time is 10:47.
           21     BY MR. GORDON:
           22        Q       All right.      Where we left off, Melanie --
           23     and you understand you're still under oath, correct?
           24        A       Yes.
10:47:25 25          Q       Okay.    All right.      When we left off and you

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            1     said you heard from, I believe, Silva [sic] or
            2     Macfarlane.      You were waiting on permission because
            3     they had custody of Cedar.          And I said permission
            4     from who and you said the DA.           When did you hear
10:47:41    5     about that?
            6                MR. BRIDGES:      I think that misstates her
            7     testimony.
            8                THE WITNESS:      Yeah, it was.
            9     BY MR. GORDON:
10:47:44 10          Q       What did you say then?
           11        A       I just heard that they had Cedar and I
           12     heard that they were waiting for permission.               I
           13     don't know...
           14        Q       From who, though?
10:47:54 15          A       No.
           16        Q       You said the DA before that.
           17        A       I assumed it was the DA.
           18        Q       Why did you assume it was the DA?
           19        A       Because the DA's official.
10:48:03 20          Q       Any other reason?
           21        A       No.
           22        Q       Did -- did they -- either of them tell you
           23     it was the DA?
           24        A       No.
10:48:09 25          Q       No?    Okay.    Why didn't you assume it was

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            1     the sheriffs?
            2         A       Because the DA's the legal.
            3         Q       Okay.    Did you ask them if it was the DA?
            4         A       No.
10:48:20    5         Q       No?    Why not?
            6         A       Again, I didn't have a say in the -- what
            7     happens to it.
            8         Q       But it's your livestock manager and fair,
            9     why did -- you must have some say?
10:48:30 10                   MR. BRIDGES:       Well, I think that still
           11     misstates testimony that she knows who told her
           12     that.
           13                 THE WITNESS:       I don't.
           14                 MR. BRIDGES:       I don't think that was ever
10:48:36 15       established.
           16     BY MR. GORDON:
           17         Q       That she had -- okay.          Who told you that
           18     they were waiting?
           19         A       I don't remember.
10:48:40 20           Q       You don't remember at all, but you heard
           21     from someone?
           22         A       Yes.
           23         Q       Okay.    And this was between -- he was
           24     retrieved on the 8th and then apparently killed --
10:48:54 25       of July -- on the 28th.          So --

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            1         A       I didn't know the date.
            2         Q       Okay.    But this would have been within that
            3     period of time; is that your understanding?
            4         A       Somewhere in July and August.              I don't
10:49:02    5     know.
            6         Q       Somewhere in July or August.              Okay.   And
            7     you have no recollection of who told you this?
            8         A       No.
            9         Q       Well, who else knew that Cedar was in the
10:49:10 10       custody of B.J. or -- or, uh, Ms. Muse?
           11                 MR. BRIDGES:      Calls for speculation and
           12     misstates her testimony about who had custody of the
           13     goat.
           14                 But if you understand --
10:49:21 15                   THE WITNESS:      I don't.
           16                 MR. BRIDGES:      -- the question.
           17     BY MR. GORDON:
           18         Q       But you understood that B.J. and Ms. Muse
           19     had custody, correct?
10:49:27 20           A       I heard that the sheriff brought the goat
           21     back.
           22         Q       To B.J.
           23         A       I don't know exactly.          I'm assuming that it
           24     was B.J., but I don't know who.
10:49:35 25           Q       Okay.    And --

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            1     company cut the check?
            2         A       I do not.
            3         Q       Okay.    So back to the -- to the -- what you
            4     assumed is the DA.        So between July 8th and -- and
10:56:36    5     July 28th, are you -- you said July and August, but
            6     those -- I'll represent to you those are the days
            7     that he was reviewed and killed.             So it would have
            8     been between those periods of time that you heard
            9     that the people who had custody of Cedar were
10:56:49 10       waiting on what you assume was the DA, correct?
           11         A       I assumed it.
           12         Q       Yes, I understand.        Yes.
           13                 MR. BRIDGES:      I'll also object that the
           14     timeline lacks foundation.           It calls for
10:56:58 15       speculation.      She doesn't know when -- you're making
           16     representation about --
           17                 MR. GORDON:      Yes, I am.
           18                 MR. BRIDGES:      -- those dates.         She doesn't
           19     know those dates.
10:57:04 20                   MR. GORDON:      Okay.
           21                 MR. BRIDGES:      Os she thought it could be
           22     July or August.
           23     BY MR. GORDON:
           24         Q       You didn't know Cedar was killed on July --
10:57:11 25       on July 28th?

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            1         A       No.
            2         Q       When did you find out he was killed on
            3     July 28th?
            4         A       I never knew.       Right now.
10:57:16    5         Q       To this day you still don't know?
            6         A       I did not know it was July 28th, no.
            7         Q       Oh, okay.      So until I represented to you
            8     today, you never heard July 28th is the date?
            9         A       Correct.
10:57:21 10           Q       When did you assume -- or when do you
           11     believe he was killed prior to today?
           12         A       Like what day?
           13         Q       Yes.
           14         A       I don't -- I don't know.           I didn't -- I
10:57:32 15       didn't think of a specific day.
           16         Q       Okay.    Did you not -- didn't his meat go
           17     back to the fairgrounds after he was killed?
           18         A       No.
           19         Q       It did not.
10:57:42 20           A       It was not our animal.
           21         Q       Okay.    Yesterday, Kathie Muse said it went
           22     back to the -- went back to the fairgrounds and was
           23     directed towards another private buyer that the fair
           24     issued it to.
10:57:50 25                   MR. BRIDGES:       I'll object.      There's no

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            1         Q       -- you don't know?
            2                 Okay.    So this -- you men- -- you mentioned
            3     having a conversation with Kathie Muse, which -- at
            4     the fairgrounds in person.          And you believe that was
11:55:40    5     in the same time frame.         Do you know if that con- --
            6     of July and August 2022.          Do you know if that was in
            7     between July 8th when he was -- when Cedar was
            8     retrieved and ber- -- and when he was slaughtered?
            9         A       I don't remember the exact time.
11:55:55 10           Q       Okay.    And in this conversation you
           11     discussed media and nothing else to your
           12     recollection; is that accurate?
           13         A       I don't remember what else we discussed.                 I
           14     would know -- I do know that it was part of the
11:56:07 15       attacks in the media.
           16         Q       Okay.    But -- but Cedar himself, his
           17     whereabouts at that moment, you -- you did not --
           18     you don't recall discussing?
           19         A       I don't recall discussing that, no.
11:56:16 20           Q       Okay.    But -- this isn't an I gotcha.           This
           21     is -- when you say you don't recall, you mean -- you
           22     mean it as not that we didn't discuss it.               You mean
           23     you don't remember one way or the other?
           24         A       Correct.
11:56:26 25           Q       So you might have discussed it?

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            1         A       I -- I doubt it.       I just wasn't curious
            2     about it.
            3         Q       You were incurious about it.
            4                 Okay.    So you don't though think you would
11:56:38    5     have thought to ask her at the time?
            6         A       Correct.
            7         Q       Okay.    All right.     Okay.     Okay.   So what is
            8     the fair's relationship with -- with -- by "the
            9     fair," I mean the 27th DAA, Shasta District Fair.
11:57:04 10       What is the fair's relationship with 4-H?
           11         A       What do you mean "what's the relationship"?
           12         Q       What trans- -- do you engage in business
           13     together?     Are there -- are there -- I mean,
           14     obviously, they -- they have the -- they participate
11:57:21 15       in the fair in some capacity.           Just expand upon how
           16     you --
           17         A       They are members that enter into the fair
           18     and show their animals.         And then they also have an
           19     event before fair to help train their -- their
11:57:36 20       members.
           21         Q       Okay.    All right.     Anything else come to
           22     mind?
           23         A       They volunteer and help serve at our buyers
           24     dinner.
11:57:49 25           Q       Okay.    So what services does the -- does

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            1         Q       -- you know, saveable.          I know that's not
            2     the right word.        You know what I'm saying.         What you
            3     should retain or not; is that accurate?
            4         A       Yes.
13:31:17    5         Q       Okay.    Okay.     Okay.    Do you have a -- do
            6     you have a work phone?
            7         A       Yes.
            8         Q       Is it -- does it double as your personal
            9     cell?
13:31:29 10           A       No.
           11         Q       Okay.    So separate work phone number?
           12         A       Yes.
           13         Q       And what is the -- what is the number and
           14     carrier?
13:31:35 15           A       Verizon             -4949.
           16         Q       All right.      Do you ever field work calls on
           17     your private phone?
           18         A       Occasionally.
           19         Q       Occasionally.       Okay.
13:31:59 20           A       More event related, though.
           21         Q       More event related.         Okay.    What is your --
           22     what is private phone and your carrier?
           23         A       Is this going to go out in the publish?
           24         Q       No.    It will just be for most of the
13:32:12 25       documents and it is not public.

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           1          A                -0058, Verizon.
            2         Q       And if we do do it, certainly your
            3     attorney --
            4                 THE COURT REPORTER:         Slow down, please.
13:32:29    5     BY MR. GORDON.
            6         Q       Where if we do a document subpoena for the
            7     records, as your attorney will tell you, you'll get
            8     a copy of it and have an opportunity to object and
            9     do all those things.           So -- okay?
13:32:41 10                   All right.      So -- okay.      Is there -- oh, is
           11     your -- is your work phone a -- I think you -- I
           12     think I noticed you said Verizon.              But do you have a
           13     work phone that's a landline also?              Is there a
           14     landline?
13:32:58 15           A       An office number.
           16         Q       There's an office number.           What's the
           17     office number?
           18         A                  6789.
           19         Q       Okay.    All right.      Is that the number
13:33:14 20       earlier that -- that had to be forwarded to
           21     voicemail?
           22         A       Yes.
           23         Q       That's the one?        Okay.    Okay.
           24         A       The one on Instagram.
13:33:23 25           Q       That is the one on Instagram.              Okay.   All

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            1         Q       When he was retrieved, Cedar was -- so when
            2     Cedar was retrieved, you knew -- you thought he was
            3     retrieved and then slaughtered right away and
            4     handled -- what do you mean by "handled"?
14:13:15    5         A       I didn't give it as much thought as you're
            6     saying.
            7         Q       Okay.    So --
            8         A       Cedar was retrieved.        They handled the
            9     situation.      I --
14:13:23 10           Q       Okay.    But it's -- it was your
           11     responsibility to see that the animals sold to the
           12     auction were, in fact, sent to the slaughter.                You
           13     didn't think it was appropriate to follow up with
           14     B.J. what the status was with Cedar?
14:13:33 15           A       No.
           16         Q       No?   Okay.    So I've had a question on
           17     another issue which is -- stuck in here.              So did
           18     you -- when the -- when the animals go to the --
           19     gets processed after -- after, let's say this
14:14:12 20       auction, what happened to the meat -- and some of it
           21     was donated to the barbecue -- what happened to
           22     animals that were slaughtered that were not donated
           23     to the barbecue?
           24         A       The buyers would go pick it up.
14:14:26 25           Q       Go pick it up from the plant?

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            1                 MR. BRIDGES:      Yes.
            2                 MR. GORDON:      Okay.    So I want to make sure
            3     I hand these to you and in the correct order,
            4     Melanie, because this is not -- there's two
14:56:30    5     different chains here and they may overlap.               I just
            6     want to figure out which one was -- was first.
            7                 That's the problem with e-mail with the
            8     chains.     There's so many chains of multiple things
            9     going in.     Okay.    All right.      I -- I guess we'll
14:57:13 10       just start with this one.
           11                 (Pause in proceedings.)
           12                 MR. GORDON:      John, if you want to check, I
           13     think -- this is a full chain.             I don't know if you
           14     want to check.
14:57:31 15                   MR. BRIDGES:      Sure.
           16                 MR. GORDON:      I believe so.      You tell me if
           17     I'm wrong.
           18                 MR. BRIDGES:      Yeah.    And this -- this does
           19     not include Mrs. Long's second --
14:57:49 20                   MR. GORDON:      Yes, I know.
           21                 MR. BRIDGES:      -- e-mail.      That -- that's --
           22     because, otherwise, that's the only thing --
           23                 MR. GORDON:      I have that.      I have that
           24     also, which we'll get to, of course.
14:57:55 25                   MR. BRIDGES:      Yeah.    But this looks like

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            1     the chain of everything else.
            2                 MR. GORDON:      I think that --
            3     chronologically, I think that -- that -- let's start
            4     with that.      Okay.
14:58:07    5                 And that -- that would will be Exhibit?
            6                 MS. SHAKIB:      F.
            7                 MR. GORDON:      F.   Thank you, Vanessa.
            8                 THE COURT REPORTER:        No.    G.
            9                 MR. GORDON:      G?
14:58:14 10                   THE COURT REPORTER:        Yes.    This is F.
           11                 MR. GORDON:      And it's Bates stamped number?
           12                 MR. BRIDGES:      21 to 25.
           13                 MR. GORDON:      21 to 25.     Okay.
           14                 (Exhibit G was marked.)
14:58:39 15                   THE WITNESS:      Do you want to put your
           16     sticker on there?
           17                 THE COURT REPORTER:        Yes, please.      Thank
           18     you.
           19     BY MR. GORDON:
14:58:44 20           Q       All right.     Let's -- Melanie, let's go just
           21     in -- I want to go in reverse order here.               So if you
           22     start at -- at the -- so you found out Monday and
           23     then -- I'm sorry.        You found out Sunday that Cedar
           24     was removed --
14:58:58 25           A       (Nodding.)

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                                             MELANIE SILVA


            1     that.
            2         Q       So the -- the DA was making decisions on
            3     what to do is your testimony?
            4         A       Yes.
17:03:33    5         Q       Okay.    Did you talk to the DA --
            6         A       No --
            7         Q       -- at all?
            8         A       -- it was not.       It was the community
            9     barbecue's goat.
17:03:38 10           Q       Okay.    But did you talk to the DA at all?
           11         A       I did not.
           12         Q       You did not.       So you're relying on B.J. to
           13     talk to the DA?
           14         A       No.
17:03:49 15           Q       Okay.    Then -- okay.
           16         A       It was -- it was the community barbecue's
           17     goat.    And they are the ones that pursued it with
           18     the DA.
           19         Q       Are you -- so you're relying on the
17:04:01 20       community barbecue or Kathie Muse to talk to the DA?
           21         A       I'm letting them deal with their property
           22     that was --
           23         Q       Okay.    But you --
           24         A       -- stolen from the fairgrounds.
17:04:07 25           Q       -- received -- you received the letter

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 1                           PENALTY OF PERJURY
 2
 3                 I, the undersigned, hereby certify that I
 4     have read the foregoing deposition, that I know the
 5     contents thereof, and I declare under penalty of
 6     perjury under the laws of the State of California
 7     that the foregoing is true and correct.
 8
 9                 Executed on ________________________, 2023.
10
11
12
13                               _______________________________
                                 MELANIE SILVA
14                                 ---o0o---
15
16
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                              Challe, Fisher & Morfin                       340
                         Redding, California (530)246-0942
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    1                                           CERTIFICATE                       OF REPORTER

    2

    3                 I,      CAROL J.                 CHASE,               a Certified                 Shorthand

    4   Reporter,                   licensed                by        the        State           of    California,

    5   License               No.         13538,            being            empowered                 to     administer

    6   oaths              and      affirmations                       pursuant                  to    Section           2093          (b)

    7   of      the         Code          of      Civil          Procedure,                      do hereby              certify:

    8                 That          the        witness                in     the         foregoing              deposition,

    9   MELANIE SILVA,                            was       present                at      the        time      and      place

   10   specified                   and        was      by me sworn                        to     testify          to      the

   11   truth,              the          whole         truth,               and     nothing             but       the      truth;

   12                 That          said          proceeding                     was       taken        before           me in

   13   shorthand                   writing,                and        was         thereafter                 transcribed

   14   under              my direction                     by        computer-aided                         transcription;

   15                 That          the        foregoing                    transcript                 constitutes                 a

   16   full,              true,          and      accurate                  record              of    the      proceeding

   17   which              took          place;           That          I am not                 of    counsel           or

   18   attorney                   for      any        of       the         parties              hereto,          or      in     any

   19   way      interested                       in      the         event           of    this         cause,          and       that

   20   I am not                   related             to       any         of     the      parties             hereto.

   21                 IN WITNESS WHEREOF, I have                                                 hereunto           subscribed

   22   my signature                        on this              27th            day       of     November,               2023.

   23

   24

   25                                                                        CAROL J.                 CHASE

                                                                                                                                     342
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   Exhibit K to Silva Deposition, Volume 1
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